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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

                              Judge Daniel D. Domenico


Case No.       20-cr-305-DDD                     Date:      February 5, 2024
Case Title:    United States v. Michael Tew et al.

               GOVERNMENT’S                              WITNESS LIST
               (Plaintiff/Defendant)


                                                         ESTIMATED DATE(S) AND
WITNESS
                                                         LENGTH OF TESTIMONY

                                     330                 Feb. 5-6 - 330 minutes (direct);
Jonathan Yioulos
                                                         170 minutes (cross

                                     45                  Feb. 7 - 45 minutes (direct); 20
Raeesa Telly
                                                         minutes (cross)

                                     45                  Feb. 7 - 45 minutes (direct); 60
Hannah Scaife
                                                         minutes (cross)

                                     30                  Feb. 7 – 30 minutes (direct); 20
Brittney Perry
                                                         minutes (cross)

                                     120                 Feb 7 - 120 minutes (direct); 60
Abby Schwartz
                                                         minutes (cross)

Kimberly Burkhalter Townsley         15                  Feb. 7 - 15 minutes (direct); 20
(Regions Bank)                                           minutes (cross)

Patricia Townsend                    15                  Feb. 7 - 15 minutes (direct); 20
                                                         minutes (cross)
(NFCU)

Flagstar Bank / FIS                  15                  Feb. 7 - 15 minutes (direct); 20
Representative                                           minutes (cross)

                                     30                  Feb. 8 - 30 minutes (direct); 30
Sarah Anderson
                                                         minutes (cross)

Joe Ridenour                         15                  Feb. 8 - 15 minutes (direct); 20
                                                         minutes (cross)
(BBVA / PNC Bank)
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                                30               Feb. 8 - 30 minutes (direct); 25
Chris Alf
                                                 minutes (cross)

                                75               Feb. 8 - 75 minutes (direct); 40
Michael Meyers
                                                 minutes (cross)

                                30               Feb. 8 - 30 minutes (direct); 20
Roman Hernandez
                                                 minutes (cross)

Julie Mussack                   15               Feb. 8 - 15 minutes (direct); 20
                                                 minutes (cross)
(Wells Fargo Bank)

Jerry Plumley                   15               Feb. 8 - 15 minutes(direct); 20
                                                 minutes (cross)
(ANB Bank)

                                30               Feb. 8 - 30 minutes (direct); 45
Nicholas Hanggi
                                                 minutes (cross)

                                30               Feb. 9 - 30 minutes(direct); 40
Matthew Vanderveer
                                                 minutes (cross)

                                60               Feb. 9 - 60 minutes (direct); 40
Matthew Morgan
                                                 minutes (cross)

                                210              Feb. 9 & 12 - 210 minutes
Lisa Palmer
                                                 (direct); 90 minutes (cross)
